






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-11-00639-CR






Rufus E. Adkinson, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 67205, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


PER CURIAM


	Appellant Rufus E. Adkinson appeals from the trial court's judgment of conviction.
The clerk's record contains seemingly conflicting information on Adkinson's right of appeal,
including a disclosure of plea recommendations, a judgment of conviction reflecting a plea bargain,
a trial court certification that the case was not a plea bargain case and that Adkinson has the right
of&nbsp;appeal, and Adkinson's waiver of right to appeal.  See Tex. R. App. P. 25.2(a)(2), (d).

	The appeal is therefore abated and the trial court is ordered to prepare and file
an&nbsp;amended certification clarifying Adkinson's right of appeal.  See Tex. R. App. P. 25.2(f).  A
supplemental clerk's record containing the trial court's amended certification shall be filed with this
Court no later than thirty days from the date of this opinion.  See Tex. R. App. P. 25.2(d), 34.5(c)(2),
37.1.



Before Chief Justice Jones, Justices Pemberton and Rose

Abated

Filed:   May 17, 2012

Do Not Publish


